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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                       HAMMOND DIVISION AT LAFAYETTE


SERGIO GROBLER derivatively on behalf of )
INOTIV, INC.,                             )
      Plaintiff,                          )
                                          )
             v.                           )          CASE NO. 4:22-CV-64-PPS-AZ
                                          )
ROBERT W. LEASURE, et al.,                )
      Defendants,                         )
                                          )
             and                          )
                                          )
INOTIV, INC.,                             )
      Nominal Defendant,                  )
__________________________________________)
                                          )
WILLIAM NOBLE BURKHART derivatively )
on behalf of Nominal Defendant            )
INOTIVE, INC.,                            )
      Plaintiff,                          )
                                          )
             v.                           )          CASE NO. 4:23-CV-3-PPS-AZ
                                          )
ROBERT W. LEASURE, et al.,                )
      Defendants,                         )
                                          )
             and                          )
                                          )
INOTIV, INC.,                             )
      Nominal Defendant.                  )

                                         ORDER

      This matter is before the Court on the parties’ Amended Joint Motion to Stay

Litigation [DE 50], filed on August 8, 2024. The parties previously filed a Joint Motion to

Stay Litigation [DE 34] and the Court held a hearing on that motion on July 25, 2024.

During that hearing, I expressed concerns with the parties’ request that the Court order a

stay of the litigation while also endorsing the parties’ proposed stipulation to participate
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in limited discovery in In re Inotiv Inc. Securities Litigation, Case No. 4:22-cv-00045-PPS-

JEM (N.D. Ind.) (the “Securities Class Action”) during the stay in this case, which would

potentially be in conflict with the Federal Rules of Civil Procedure. I asked the parties to

reconsider their motion as either request for a stay (with no Court supervision of any

private agreements relating to discovery) or to proceed with the litigation under discovery

protocols that satisfied their interests of judicial economy. In their Amended Joint Motion

to Stay [DE 50], the parties have decided to request a stay of this case without Court-

sanctioned discovery during the pendency of the requested stay. 1

      Accordingly, in the interests of judicial economy and to conserve the parties’

resources, the parties’ Joint Motion to Stay Litigation [DE 34] is DENIED AS MOOT; the

parties’ Amended Joint Motion to Stay Litigation [DE 50] is GRANTED; and the Court

ORDERS as follows:

      (1) This matter is STAYED through the earliest of the following: (a) resolution of

          anticipated motion(s) for summary judgment in the related securities class

          action, now captioned In re Inotiv Inc. Securities Litigation, Case No. 4:22-cv-

          00045-PPS-JEM (N.D. Ind.) (the “Securities Class Action”); (b) notification of a

          settlement being reached in the Securities Class Action; or (c) further order of

          the Court upon a motion by any party to terminate the stay;




1 To the extent the parties and/or parties to any other related litigation have or will enter

into side agreements allowing use of discovery from one proceeding in another, the Court
expresses no view as to their enforceability or propriety at this time.

                                             2
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    (2) During the pendency of the stay, Plaintiffs may seek leave of Court to further

       amend the operative consolidated amended complaint, which shall be freely

       given in accordance with the Federal Rules of Civil Procedure;

    (3) During the pendency of the stay, Defendants shall have no obligation to answer

       or otherwise respond to the current complaint or any future amended complaint,

       absent further order of the Court lifting the stay or ordering a response; and

    (4) Upon termination of the stay, the Parties shall submit a proposed schedule for

       further proceedings in this case within fourteen (14) days thereof.

    SO ORDERED this 13th day of August 2024.

                                              /s/ Abizer Zanzi
                                              MAGISTRATE JUDGE ABIZER ZANZI
                                              UNITED STATES DISTRICT COURT




                                          3
